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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION, ASHLAND

GLORIA MAY,                                   )
                                              )
       Plaintiff,                             )
                                              )       No.
       vs.                                    )
                                              )
TRS RECOVERY SERVICES, INC. and               )
TELECHECK SERVICES, INC.,                     )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

            NOW COMES the Plaintiff, GLORIA MAY, by and through her attorney, KYLE R.

SALYER, and for her Complaint against the Defendants, TRS RECOVERY SERVICES, INC.

and TELECHECK SERVICES, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.       This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

       2.       Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.       Plaintiff is an individual who was at all relevant times residing in Blaine,

Kentucky.
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       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.

       5.      At all relevant times, Defendants acted as “debt collectors” within the meaning of

15 U.S.C. § 1692a(6), in that they held themselves out to be companies collecting a consumer

debt allegedly owed by Plaintiff.

       6.      On information and belief, Defendant, TELECHECK SERVICES, INC.

(“TeleCheck”), is a corporation of the State of Colorado, which is licensed to do business in

Kentucky and which has its principal place of business in Greenwood Village, Colorado.

       7.      On information and belief, Defendant, TRS RECOVERY SERVICES, INC.

(“TRS Recovery”), is a corporation of the State of Colorado, which is licensed to do business in

Kentucky and which has its principal place of business in Greenwood Village, Colorado.

                                             COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

       8.      On or about January 18, 2010, Defendant TeleCheck mailed a letter to Plaintiff in

an attempt to collect an alleged debt. A copy of said letter is attached hereto as Exhibit 1.

       9.      The aforementioned letter listed Defendant TRS Recovery as the “Collecting

Agent” for the alleged debt.

       10.     Additionally, the aforementioned letter failed to contain the notice required to be

given to Plaintiff by 15 U.S.C. § 1692g(a). Further, said letter did not notify Plaintiff that the

communication was from a debt collector.

       11.     In its attempts to collect the aforementioned alleged debt, Defendants violated the

FDCPA in one or more of the following ways:

               a.      Failing to disclose in every communication with Plaintiff that the




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                       communication was from a debt collector, in violation of 15 U.S.C. §

                       1692e(11);

               b.      Failing to send the written notice to Plaintiff which is required by 15

                       U.S.C. § 1692g(a); and

               c.      By acting in an otherwise deceptive, unfair and unconscionable manner

                       and failing to comply with the FDCPA.

       12.     As a result of Defendants’ violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, GLORIA MAY, respectfully prays for a judgment against

Defendants as follows:

               a.      Statutory damages of $1,000.00 from each Defendant for each violation of

                       the FDCPA;

               b.      All reasonable attorneys’ fees, witness fees, court costs and other litigation

                       costs incurred by Plaintiff; and

               c.      Any other relief deemed appropriate by this Honorable Court.



                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.




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                                        Respectfully Submitted,

                                        /s/ Kyle R. Salyer
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